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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 IN RE: FTX COLLAPSE LITIGATION                           MDL Docket ________


         BRIEF IN SUPPORT OF MOTION FOR TRANSFER OF ACTIONS
    TO THE SOUTHERN DISTRICT OF FLORIDA PURSUANT TO 28 U.S.C. § 1407
      FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

        Petitioners, Edwin Garrison, Gregg Podalsky, Skyler Lindeen, Alexander Chernyavksy,

Sunil Kavuri, Gary Gallant, and David Nicol (the “Petitioners”) file this brief in support of their

motion to move the Judicial Panel on Multidistrict Litigation (the “Panel”) for transfer to and

consolidation or coordination for pretrial purposes of the Related Actions (described below)

arising out of the collapse of the FTX cryptocurrency trading platform, to the United States District

Court for the Southern District of Florida.

        Petitioners are Plaintiffs in the nation’s first-filed class action following the collapse of

FTX, Garrison, et al. v. Bankman-Fried, et al., No. 1:22-cv-23753-KMM (S.D. Fla.), was filed in

the Southern District of Florida, and which is already consolidated before Judge K. Michael Moore

with a Related Action and is proceeding expeditiously and efficiently. Petitioners’ counsel have

been coordinating and litigating these issues since their inception and are uniquely positioned to

lead this litigation for all affected FTX customers. Petitioners and their counsel have great respect

for the Panel and the multidistrict litigation process and vehicle, and believe that, given that actions

are now being filed elsewhere in the country against some, but not all, of the defendants in the

pending Garrison action regarding these same issues in light of developments in the FTX

bankruptcy proceedings, In re: FTX Trading Ltd., et al., No. 22-11068 (JTD) (Bankr. Dist. Del.),

and in the enforcement actions brought in the Southern District of New York by the CFTC and

SEC, CFTC v. Bankman-Fried, et al., No. 22-cv-10503 (S.D.N.Y.) and SEC v. Bankman-Fried, et
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al., No 22-cv-10501 (S.D.N.Y.) consolidation and transfer to the Southern District of Florida may

be the best option for the Panel to ensure that these cases are litigated fully, effectively, and in an

orderly fashion.

                                   FACTUAL BACKGROUND

       The FTX group of companies (FTX Group or FTX) was founded in 2019 and began as an

exchange or marketplace for the trading of crypto assets. FTX was established by Samuel

Bankman-Fried, Gary (Zixiao) Wang and Nishad Singh, with operations commencing in May

2019. FTX was purportedly established in order to build a digital asset trading platform and

exchange for the purpose of a better user experience, customer protection, and innovative products.

FTX built the FTX.com exchange to develop a platform robust enough for professional trading

firms and intuitive enough for first-time users.

       Until seeking the protection of the Bankruptcy Court, the FTX Entities operated a multi-

billion-dollar mobile application cryptocurrency investment service (the “Deceptive FTX

Platform”) that placed cryptocurrency trade orders on behalf of users like Plaintiff and Class

Members and offered interest bearing cryptocurrency accounts. Everyone now agrees the FTX

Disaster is the largest financial fraud in US history. The former FTX CEO is on house arrest

pending a federal prosecution, and the new CEO—who helped wind down Enron—concluded the

fraud here was worse than Enron and is unprecedented. Billions of dollars have been stolen from

investors across the globe. FTX will be involved in federal bankruptcy proceedings for many years

and there is no guarantee that any of the victims will be able to see any recovery from those

proceedings.

       Undersigned Counsel have been investigating and litigating these specific issues for almost

two years in the Southern District of Florida. On December 24, 2021, Undersigned Counsel




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brought the first (and only) putative nationwide class action complaint against the now-defunct

cryptocurrency trading app, Voyager, styled Mark Cassidy v. Voyager Digital Ltd., et al., Case

No. 21-24441-CIV-ALTONAGA/Torres (the “Cassidy Action”), alleging that the platform owned

and operated by Voyager Digital Ltd. (“Voyager”) and Voyager Digital LLC (“VDL”) was an

unregulated and unsustainable fraud. In the Cassidy Action, plaintiffs also alleged that Defendant

Ehrlich, Voyager’s CEO, teamed up with Defendants Cuban and the Dallas Mavericks to promote

Voyager, by making false representations and employing other means of deception. As a result,

the Voyager plaintiffs and Voyager class members, all sustained losses in excess of $5 billion.1

The action was filed with substantial expert support from Dr. Stephen Castell of Castell Consulting

and Rich Sanders of CipherBlade, both of whom are extremely well-regarded and are highly

knowledgeable of the issues in both the Voyager and FTX litigation. Petitioners and their counsel

have retained Castell Consulting and CipherBlade as experts in this litigation as well.

       After the Cassidy Complaint was filed, the following important actions took place:

           a) the United States Securities and Exchange Commission (SEC) began an
              enforcement review focused on whether Voyager’s Earn Program Accounts
              (“EPAs”) constitute unregistered securities;

           b) seven state Attorneys General (New Jersey, Alabama, Kentucky, Oklahoma, Texas,
              Vermont and Washington) took specific action finding that Voyager was violating
              their state laws, including issuing “cease and desist” letters to Voyager, finding that
              the EPA was an unregistered security, prohibiting the crypto-asset broker-dealer



1
  The allegations in the Cassidy complaint—and specifically Mark Cuban’s role in promoting
Voyager—received national attention. See https://www.jdsupra.com/legalnews/new-lawsuits-
target-cryptocurrency-9604406/ (summarizing the allegations and explaining that “Mark Cuban,
owner of the NBA’s Dallas Mavericks, is a major stakeholder in Voyager. The complaint alleges
that he made comments at a press conference in which he specifically targeted unsophisticated
investors ‘with false and misleading promises of reaping large profits in the cryptocurrency
market.’”);    https://www.law.com/dailybusinessreview/2021/12/29/mark-cuban-linked-crypto-
platform-hit-with-florida-nationwide-class-action-lawsuit-in-miami-federal-
court/?slreturn=20220701214901 (same, in the Daily Business Review).


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               from selling any more unregistered securities (finding that Voyager used these
               EPAs to raise millions of dollars in revenue worldwide as of March 1, 2022; and

           c) on March 29, 2002, the State of New Jersey Bureau of Securities entered a Cease
              and Desist Order against Voyager, finding that the EPA was not exempt from
              registration under the law, and instead that it must be registered—and as a result,
              Voyager’s stock price tanked by 25% in a day and is down over 80% for the year.2

        On July 5, 2022, Voyager Digital Holdings, Inc. and two affiliated debtors filed voluntary

petitions for relief under chapter 11 of Title 11 of the United States Code (the “Voyager

Bankruptcy Cases”), which are jointly administered under Case No. 22-10943 before the

Honorable Michael E. Wiles in the United States Bankruptcy Court for the Southern District of

New York (the “Bankruptcy Court”).

       On September 28, 2022, Voyager filed a motion in the Voyager Bankruptcy Cases seeking

authority to enter into an asset purchase agreement with West Realm Shires Inc., d/b/a FTX US

whereby Voyager will sell substantially all of its assets for a purchase price of approximately

$1.422 billion, which includes (i) the value of cryptocurrency on the Voyager platform as of a date

to be determined, which, as of September 26, 2022, is estimated to be $1.311 billion, plus (ii)

additional consideration which is estimated to provide at least approximately $111 million of

incremental value to the Debtors’ estates.

       There is a real and direct connection between the FTX and Voyager bankruptcies.

Everyone involved in the Voyager Bankruptcy Cases thought that the FTX Entities were the deus

ex machina come to save the day by bailing out Voyager and paying back at least some of the

losses the Voyager customers sustained.




2
        https://seekingalpha.com/article/4498956-voyager-digital-plunged-25-percent-heres-why
(accessed October 28, 2022); https://seekingalpha.com/article/4503716-voyager-digital-buy-dip-
during-crypto-crash (accessed February 10, 2023).


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        Instead, the FTX Entities imploded, their over $30 billion in value evaporated almost

overnight, and the FTX Entities found themselves filing their own emergency Chapter 11

bankruptcy petition in Delaware. The Deceptive FTX Platform maintained by the FTX Entities

was truly a house of cards, a Ponzi scheme where the FTX Entities shuffled customer funds

between their opaque affiliated entities, using new investor funds obtained through investments in

the YBAs and loans to pay interest to the old ones and to attempt to maintain the appearance of

liquidity.

        Part of the scheme employed by the FTX Entities involved utilizing some of the biggest

names in sports and entertainment to raise funds and drive global consumers to invest in the YBAs,

which were offered and sold largely from the FTX Entities’ domestic base of operations in Miami,

Florida, pouring billions of dollars into the Deceptive FTX Platform to keep the whole scheme

afloat (the “Brand Ambassadors”).

        Importantly, although Defendants disclosed their partnerships with the FTX Entities, they

never disclosed during their promotional activities for FTX the nature, scope, and amount of

compensation they personally received in exchange for the promotion of the Deceptive FTX

Platform, which the SEC has explained that a failure to disclose this information would be a

violation of the anti-touting provisions of the federal securities laws.3 Moreover, none of these

Defendants performed any due diligence prior to marketing these FTX products to the public.




3
         https://www.ubergizmo.com/2017/11/sec-celebrities-disclose-payment-cryptocurrency-
endorsements/#:~:text=It%20has%20issued%20a%20statement%20warning%20celebrities%20t
hat,without%20disclosing%20that%20they%E2%80%99ve%20been%20paid%20for%20it
(accessed February 10, 2023).


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       Defendants’ misrepresentations and omissions made and broadcast around the globe

through the television and internet render them liable to Plaintiff and class members for soliciting

their purchases of the unregistered YBAs.4

       Thus, on November 15, 2022, Petitioner Garrison and Undersigned Counsel filed the

Garrison Action, seeking to hold Defendants—which include the founders and principal insiders

of the FTX Entities and its related trading arm, Alameda, as well as a dozen “Brand

Ambassadors”5—responsible for the many billions of dollars in damages they caused Petitioner

Garrison and the putative Nationwide Class and to force Defendants to make them whole.

Undersigned counsel then filed additional class actions in the Southern District of Florida on behalf

of additional plaintiffs seeking to represent, among other constituencies, a putative Global Class,

which was ultimately informally consolidated in the Related Action, Podalsky, et al. v. Bankman-

Fried, et al., No. 22-cv-23983 (S.D. Fla.). Judge Moore then sua sponte consolidated the Garrison

and Podalsky matters for all purposes, which are now proceeding in the well-organized

consolidated Garrison matter under a global consolidated amended complaint, which was filed

with substantial expert support from CipherBlade, one of the preeminent and most highly regarded

cryptocurrency expert witness firms.




4
 Wildes v. Bitconnect Int’l PLC, No. 20-11675 (11th Cir. Feb. 18, 2022) (holding that promoters
of cryptocurrency through online videos could be liable for soliciting the purchase of unregistered
securities through mass communication, and no “personal solicitation” was necessary for
solicitation to be actionable).
5
 The FTX Insider Defendants include Samuel Bankman-Fried, Sam Trabucco, Caroline Ellison,
Nishad Singh, Gary Wang, and Dan Friedberg, while the Brand Ambassador Defendants include
Tom Brady, Gisele Bundchen, Stephen Curry, Golden State Warriors, Shaquille O’Neal, Udonis
Haslem, David Ortiz, William Trevor Lawrence, Shohei Ohtani, Naomi Osaka, Lawrence Gene
David, and Kevin O’Leary. Petitioners anticipate more may be joined into this litigation as it
progresses.


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        Undersigned Counsel also represents individuals who decided to file six individual (non-

class action) FTX actions in Florida state court (Florida State Actions), against a number of only

Florida-resident Brand Ambassadors, including Tom Brady, Kevin O’Leary, and David Ortiz.

Those actions were informally consolidated through the filing of an amended complaint in the

action Norris, et al. v. David Ortiz, et al., No. 2022-022900-CA-01 (Fla. 11th Jud. Cir. Ct), which

was pending before the Honorable Michael Hanzman in the Complex Business Litigation Division

of Miami-Dade County. Shortly after the Norris Plaintiffs briefed and filed a motion for partial

summary judgment on the issue of whether the YBA was a security required to be registered with

securities regulators (supported with substantial expert analysis from Paul Sibenik of

CipherBlade), the Norris Defendants removed the action to the Southern District of Florida, where

it is now pending before Chief Judge Cecilia M. Altonaga.6

        After Petitioners and their counsel filed Garrison, several additional substantially similar

putative class actions were filed in the Northern and Southern Districts of California against, inter

alia, some of the FTX Insider Defendants and Brand Ambassador Defendants. See the Schedule

of Actions filed concurrently herewith.

        The plaintiffs and their counsel in the later-filed Related Actions pending in the Northern

District of California, which allege claims against Sam Bankman-Fried, Caroline Ellison, Gary



6
  Currently pending in the Norris action is a motion to remand the case back to state court, where
it may be returned to Judge Hanzman’s court. Judge Hanzman is one of the most highly regarded
state court judges in the country, who famously presided over the consolidated litigation arising
out of the tragic collapse of the Champlain Towers South Condominium, which litigation resulted
in over $1.3 billion in recoveries for the victims and their survivors after only one year of litigation,
due to Judge Hanzman’s close and careful supervision of that litigation. Given that there will likely
be pending state court litigation regarding these FTX issues, having them presided over by such a
well-respected and capable jurist as Judge Hanzman, who can closely coordinate with a federal
transferee judge in the Southern District of Florida, would be an ideal scenario to ensure that both
actions proceed in an orderly and coordinated fashion.


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Wang, Nishad Singh, Sam Trabucco, the Golden State Warriors, and Armanino LLP and Prager

Metis CPAs, LLC,7 acknowledge that their actions also “all revolve around the collapse of the

FTX exchange and seek redress for the billions of dollars of losses incurred by unsuspecting

consumers and investors who were tricked by Mr. Bankman-Fried and the other Defendants into

storing their money or assets on the FTX exchange.” Lam v. Bankman-Fried, et al., Case No. 3:22-

cv-07336, ECF No. 19 at 9. They are seeking to have their actions consolidated for all purposes

under the Lam action and should therefore appropriately be treated as one action pending in the

Northern District of California. Id.

         The later-filed Related Action pending in the Southern District of California brings claims

only against Silvergate Bank (and its parent corporation and President/CEO), alleging it “directly

aided and abetted FTX’s fraud and breaches of fiduciary duty via first-hand participation in the

commingling of funds, improper transfers, and lending out of customer money.” Gonzalez v.

Silvergate Bank, et al., No. 3:22-cv-01901-L-AGS, ECF No. 1 ¶ 4 (S.D. Cal. Dec. 14, 2022).8

         For these reasons, and as further explained below, Petitioners and Undersigned Counsel

are uniquely positioned to aid the Panel through consolidation of the Related Actions for pretrial

purposes.




7
    Armanino and Praeger are the outside auditors who reviewed FTX and FTX.US financials
8
 On February 9, 2023, two of the three Related Actions pending in the Southern District of
California, Zuleta and Husary, were voluntarily dismissed, leaving Gonzalez as the sole pending
Related Action in the Southern District of California. Petitioners include Zuleta and Husary in the
Schedule of Actions in an abundance of caution.


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                                      LEGAL ARGUMENT

   I.      TRANSFER AND CONSOLIDATION OF THE RELATED ACTIONS IS
           APPROPRIATE PURSUANT TO 28 U.S.C. § 1407.

        The Related Actions should be transferred and consolidated or coordinated for pretrial

proceedings. Pursuant to 28 U.S.C. § 1407(a), the MDL Panel may transfer and consolidate cases

that meet three requirements: (1) the cases “involv[e] one or more common questions of fact;” (2)

transfer and consolidation or coordination will further “the convenience of parties and witnesses;”

and (3) transfer and consolidation or coordination “will promote the just and efficient conduct of

[the] actions.” Here, transfer and consolidation to the Southern District of Florida satisfies each of

these objectives.

           A. The Related Actions Involve Common Questions of Fact.

        The MDL Panel has consistently held that cases involving overlapping factual issues are

particularly appropriate for transfer and consolidation or coordination. See, e.g., In re January

2021 Short Squeeze Trading Litig., MDL 2989, 2021 WL 1258399, at *1 (J.P.M.L. Apr. 2, 2021)

(transferring related securities cases under § 1407 to the Southern District of Florida because the

cases involved common questions of fact and “some of the events central to this litigation”

occurred there); In re Optimal Strategic U.S. Equity Fund Sec. Litig., 648 F. Supp. 2d 1388, 1388–

89 (J.P.M.L. 2009) (centralizing related securities class actions in the Southern District of Florida

where the cases involved common questions of fact, a common defendant was headquartered in

Florida, and the first-filed class action was pending).

        The basic facts alleged in the Related Actions are virtually the same, as all arise out of the

same events—FTX’s business practices in Miami and those of related individuals and entities that

promoted the platform and the unregistered securities it offered and sold, and all the fraudulent,

deceptive, and/or misleading activities they conducted that culminated in the November 2022



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collapse of FTX, including the acts of those who helped to conceal the precarity of FTX’s financial

situation while it deployed its global scheme. Therefore, based on these overlapping factual issues,

the Related Actions should be transferred and consolidated or coordinated in one judicial district.

           B. Centralization Will Be More Convenient for the Parties and Witnesses.

       Centralization of these lawsuits will save Plaintiffs and Defendants the burden of having

to prosecute and defend competing and overlapping class actions in multiple federal districts across

the country. Discovery in all of these actions will involve the substantially similar testimony and

documentary evidence from the Defendants. Defendants will likely assert similar discovery

objections and privileges in each of the pending actions. Consolidation or coordination of these

actions will avoid duplicative, redundant, and costly discovery proceedings, and avoid repetitive

motion practice and potentially conflicting discovery and other pretrial rulings. See In re January

2021 Short Squeeze Trading Litig., 2021 WL 1258399, at *2 (“Centralization will eliminate

duplicative discovery; prevent inconsistent pretrial rulings (including with respect to class

certification); and conserve the resources of the parties, their counsel, and the judiciary.”)

           C. Centralization Will Promote the Just and Efficient Conduct of the Related
              Actions.

       Where multiple class actions have been initiated against multiple defendants who are

engaged in substantially similar conduct, centralization serves the convenience of parties and

witnesses and therefore promotes the just and efficient conduct of the litigation. See, e.g., In re

Checking Account Overdraft Litig., 626 F. Supp. 2d 1333, 1335-36 (J.P.M.L. 2009) (industrywide

centralization); In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig., 398 F.

Supp. 2d 1356, 1358 (J.P.M.L. 2005) (consolidating proceedings in fourteen actions and twenty-

one potential tag-along actions); In re Darvocet, Darvon & Propoxyphene Prods. Liab. Litig., 780

F. Supp. 2d 1379, 1382 (J.P.M.L. 2011) (consolidating seventeen actions against at least twelve



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defendants in one district); In re Chinese-Manufactured Drywall Prods. Liab. Litig., 626 F. Supp.

2d 1346, 1347 (J.P.M.L. 2009) (consolidating ten actions against numerous defendants in one

district).

        In addition, transfer and consolidation will promote the just and efficient conduct of the

Related Actions because it will eliminate the possibility of conflicting pre-trial rulings. Plaintiffs

assert many of the same claims—violations of state securities laws for the offer and sale of

unregistered securities, violations of consumer protection statutes, civil conspiracy, common law

fraudulent concealment, and declaratory judgment claims—and inconsistent rulings could result if

different courts address these claims. See In re Terrorist Attacks on Sept. 11, 2001, 295 F. Supp.

2d 1377, 1378 (J.P.M.L. 2003) (noting that transfer is favored where there are overlapping legal

issues among the various cases). Dispositive motions and motions for class certification will

require the resolution of essentially the same issues of fact and law.

        The risk of inconsistent pre-trial rulings is particularly high here due to the presence of the

current and potential number of competing and overlapping putative nationwide classes. See In re

Plumbing Fixture Cases, 298 F. Supp. 484, 493 (J.P.M.L. 1968) (“[It] is in the field of class action

determinations in related multidistrict civil actions that the potential for conflicting, disorderly,

chaotic judicial action is the greatest”); see also In re Imagitas, Inc., Drivers’ Privacy Prot. Act

Litig., 486 F. Supp. 2d 1371, 1372 (J.P.M.L. 2007) (centralizing actions that contained “competing

class allegations”); In re IDT Corp. Calling Card Terms Litig., 278 F. Supp. 2d 1381, 1381

(J.P.M.L. 2003) (centralizing actions that involved “overlapping putative class actions”).

        It is likely that the number of Related Actions filed in the coming weeks, as a result of

litigation in the Southern District of Florida, will increase in other jurisdictions. Ordering the

transfer and consolidation at this early stage will allow these complex litigations to proceed in an




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efficient and coordinated manner. Efficiency is especially important here, where the judicial

system is already tasked with unraveling what is likely to be the largest financial fraud in history.

    II.     THE RELATED CASES SHOULD BE TRANSFERRED TO THE SOUTHERN
            DISTRICT OF FLORIDA.

                The Southern District of Florida is a proper choice for the transferee district

because (i) the First-Filed Action, Garrison, et al. v. Bankman-Fried, et al., No. 1:22-cv-23753-

KMM (S.D. Fla.), was filed in the Southern District of Florida, which is already consolidated and

well-organized before Judge K. Michael Moore with a Related Action and is the most advanced

of the Related Actions by far, and three Related Actions (one of which is a state court action that

was removed to federal court after consolidating 6 individual state court actions) are currently in

the Southern District of Florida; (ii) the Southern District of Florida has the strongest nexus to

this litigation; (iii) the Southern District of Florida is well suited to handle the Related Actions in

a timely manner; and (iv) Judge Moore and Judge Altonaga, the Chief Judge of the Southern

District of Florida who is presiding over a Related Action as well as litigation arising out of the

collapse of the related Voyager Digital cryptocurrency platform (with the similar question as to

whether all of Voyager’s interest-bearing cryptocurrency accounts are “unregistered securities”),

are both already acquainted with the subject matter at issue and are exceptionally qualified and

experienced with MDL litigation, as well as other judges in the Southern District of Florida with

similar experience in these complex matters, such as the Honorable Roy K. Altman, who is also

presiding over litigation as to whether certain “Brand Ambassadors” of the Voyager Digital

platform substantially participated in the offer or sale of unregistered securities (Voyager’s

interest-bearing cryptocurrency accounts).




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           A. The Judges Presiding over Related Actions in the Southern District of Florida
              are Well-Qualified and Experienced in MDL Litigation and the Related
              Actions.

       As evidenced by the MDL Panel’s selection of the Southern District of Florida as the

transferee court in numerous MDL actions, the judges in the Southern District of Florida are

exceptionally qualified and experienced with MDL litigation. The MDL Panel has consistently

acknowledged that MDL experience is an important factor in deciding upon a transferee court.

See In re Chinese-Manufactured Drywall Prods. Liab. Litig., 626 F. Supp. 2d 1346, 1347 (J.P.M.L.

2009) (finding that centralization in the chosen district permits the Panel to “effect the section

1407 assignment to a judge who has extensive experience in multidistrict litigation as well as the

ability and temperament to steer this complex litigation on a steady and expeditious course”).

       District Court Judge K. Michael Moore, who currently presides over Garrison, the nation’s

first-filed, consolidated class action lawsuit representing nationwide and global classes, has

experience presiding over MDL proceedings, including In re Liquid Toppings Dispensing Sys.

('447) Patent Litig., (MDL No. 2832), to which he was assigned as transferee judge while Chief

Judge presiding over this District, and in whom the Panel expressed their full confidence. Id., 291

F. Supp. 3d 1378, 1380 (J.P.M.L. 2018) (“We are confident that Chief Judge K. Michael Moore,

an experienced transferee judge who presided over the 2012 litigation,3 will steer this controversy

on a prudent course.”).

       Since receiving and consolidating Garrison and Podalsky, Judge Moore has fastidiously

managed the consolidated docket, overseeing the orderly process of serving 18 different

defendants and ensuring that they provide a coordinated response to the allegations in the suit.

       District Court Judge Cecilia M. Altonaga, who is the Chief Judge of the Southern District

of Florida and currently presides over a Related Action, has experience presiding over MDL

proceedings, including In re: January 2021 Short Squeeze Trading Litigation (MDL 2989) since


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April 2021. In less than two years since that MDL was first formed, Chief Judge Altonaga has

adeptly managed those proceedings, significantly culling down the pretrial issues to be determined

through several orders dismissing defective claims.

       In addition, Judge Altonaga is familiar with the issues relevant to the Related Actions, as

she also presides over Norris, et al. v. Thomas Brady, et al., No. 1:23-cv-20439-CMA (S.D. Fla.),

individual actions filed in state court in the Eleventh Judicial Circuit in and for Miami-Dade

County, which were consolidated and removed to the Southern District of Florida. In Norris, Judge

Altonaga has taken an early and active role in that Related Action, entering various orders to

organize the litigation in that action, including briefing schedules on pending motions, establishing

requirements to conduct a joint Rule 16 Scheduling Conference.9

       Moreover, Judge Altman and Magistrate Judge Lisette M. Reid are presiding over

Robertson, et al. v. Mark Cuban, et al., No. 22-cv-22538-ALTMAN/Reid (S.D. Fla.), a similar

action against Mark Cuban and his Dallas Mavericks, who were Brand Ambassadors for Voyager.

The Robertson action, similar to Garrison, alleges that these Brand Ambassadors substantially

participated in Voyager’s offer and sale of interest-bearing cryptocurrency accounts on its trading

platform, which accounts are securities required to be registered with securities regulators, such

that they are jointly and severally liable for the damages Voyager caused to its customers.

Robertson was also filed with substantial expert support from Dr. Stephen Castell of Castell

Consulting and Rich Sanders of CipherBlade, and the Parties in the Robertson action are in the

midst of conducting significant discovery into the issues arising from that litigation.


9
  Chief Judge Altonaga is very familiar with the subject matter of the litigation as she is also the
presiding judge over Cassidy v. Voyager Digital Ltd., et al., No. 1:21-cv-24441-CMA, the first-
filed nationwide class action against Voyager Digital for similar claims that they engaged in the
offer and sale of unregistered securities in the form of interest-bearing cryptocurrency accounts
much like the ones at issue in the Related Actions.


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       Judge Altman and Magistrate Judge Reid have prudently steered the Robertson litigation.

The Parties are operating under an efficient trial order, with trial scheduled to occur in February

2024. The Parties have deposed a number of the Plaintiffs, Defendant Mark Cuban, and plaintiffs

in that action are deposing executives of the Dallas Mavericks and Voyager Founder/CEO Stephen

Ehrlich in the coming weeks. The Parties have also issued third party subpoenas to other Voyager

Brand Ambassadors and other third parties with potentially relevant information for that action,

including the law firm Sullivan & Cromwell. Magistrate Judge Reid has been available for

numerous discovery hearings, sometimes holding hearings within the same day of a dispute being

raised with her, to ensure that discovery proceeds efficiently and effectively. Judge Altman, who

does not currently have an MDL pending before him, has worked assiduously to ensure that the

action proceeds on an effective pretrial schedule so that the Parties can quickly and efficiently raise

their arguments before him and hopefully bring the Action to resolution.10

       Therefore, based on the experience of the Southern District of Florida in MDL actions, the

Southern District of Florida is the appropriate transferee forum.

           B. Docket Conditions in the Southern District of Florida are More Favorable
              Than in Other Districts.

       According to the most recent Federal Court Management Statistics, the Southern District

of Florida ranks as the top district in the entire country in the most significant measure of docket

conditions: the median time from filing to disposition in civil cases. The median time from filing

to disposition currently stands at 3.6 months, and has not exceeded 5 months for the past thirteen

years. Additionally, the Southern District of Florida also stands near the top of the list for median



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  For instance, when the Robertson plaintiffs filed a motion for class certification in that action,
Judge Altman denied the motion without prejudice with instruction to refile the motion after the
action proceeds past the motion to dismiss phase.


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time from filing to trial in civil cases, ranking third nationwide in that measure with a median time

of 25 months. The Southern District of Florida, therefore, clearly “enjoys general docket

conditions conducive to the efficient resolution of this litigation.” In re: Skechers Toning Shoe

Products Liab. Litig., 831 F. Supp. 2d 1367, 1370 (U.S. Jud. Pan. Mult. Lit. 2011). Here,

establishing the MDL in an efficient District Court is of paramount importance due to the

significant scope, complexity, and widespread damages caused to consumers at issue in the Related

Actions.

       As the Panel has previously recognized, the Southern District of Florida is “readily

accessible.” In re Enfamil Lipil Marketing & Sales Practices Litig., 764 F. Supp. 2d 1356, 1357

(J.P.M.L. 2011). Also, the judges in the Southern District of Florida are exceptionally qualified

and experienced with complex litigation. The MDL Panel has consistently acknowledged that

such experience is a key factor in deciding upon a transferee court. See In re Health Management

Associates, Inc. Qui Tam Litig. (No. II), MDL No. 2524, 2014 WL 1338479, *2 (J.P.M.L. Apr. 3,

2014) (transferring actions to an “experienced jurist”); In re Biomet M2a Magnum Hip Implant

Products Liab. Litig., 896 F. Supp. 2d 1339, 1340-41 (J.P.M.L. 2012) (transferring actions to a

judge “who is well-versed in the nuances of complex, multidistrict litigation”).

       The advantages of establishing the MDL in the Southern District of Florida are magnified

when compared to case management metrics in the other potential MDL jurisdictions, the

Northern and Southern Districts of California. For instance, these Districts are more heavily

burdened and therefore less efficient than the Southern District of Florida. Compared to the

Southern District of Florida’s 3.6-month median time from filing to disposition, it takes 10.1

months in the Northern District of California and 7.7 months in the Southern District of California.

The difference is even greater for median time from filing to trial, with it taking 25 months in the




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Southern District of Florida, 34.7 months in the Northern District of California, and 46.9 months

in the Southern District of California.

       Another “especially useful basis for comparing the various court dockets” is the percentage

of cases over 3 years old. D. Herr, Multidistrict Litigation Manual: Practice Before the Judicial

Panel on Multidistrict Litigation, § 6:17 at 210-11 (2009). Here again, the Southern District of

Florida is by far the more efficient district with only 133 (3.4%) of its cases pending for three

years or more. This is particularly impressive when measured against the Northern District of

California, where 971 cases (8.6%) have been pending three years or more, and the Southern

District of California, where 535 cases (23.2%) have been pending three years or more. One

possible explanation for the other districts’ relative inefficiency—and another factor militating in

favor of the Southern District of Florida—is that, as of June 30, 2022, each judge in the Southern

District of Florida has, on average, 332 pending actions, whereas each judge in the Northern

District of California has an average of 890 pending actions, while each judge in the Southern

District of California has 457 pending actions.

       Establishing the MDL in a District Court with favorable docket conditions and a proven

track record of efficiently managing cases is crucial under these circumstances, where at issue is

what is likely the largest financial fraud in history, with billions of dollars in investments from

average consumers hanging in the balance.

           C. The Southern District of Florida has a Strong Nexus to the Litigation.

       Finally, there is a strong nexus between the issues in these Related Actions and the

Southern District of Florida. The primary conduct at issue in these actions admittedly all emanated

from the Southern District of Florida. Although the FTX Entities’ international headquarters was




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in the Bahamas, its domestic US base of operations is located in Miami, Florida.11 Moreover, many

of the “Brand Ambassador” named Defendants are Florida residents and much of their conduct

emanated from this state as well, including Tom Brady, Gisele Bunchden, Kevin O’Leary, David

Ortiz, and Udonis Haslem. Miami has become the “hot spot” for crypto companies like FTX,

hosting the most investments in crypto startups as well as the largest and most well attended annual

Bitcoin Miami 2022 Global Forums. Several crypto companies are based in Miami, in addition to

FTX.US, including crypto exchange Blockchain.com, and Ripple, moved their headquarters to

Miami. Others, including fellow exchange eToro, expanded their U.S. presence with offices in

Miami. FTX is very familiar with Miami, where they signed a deal worth more than $135 million

dollars for the naming rights of the waterfront arena, where 3-time NBA Champions the Miami

Heat play. Lastly, the first-filed global and nationwide class actions involving the collapse of the

FTX trading platform were filed and are pending in the Southern District of Florida.

       Under these circumstances, the Panel previously consolidated and transferred Related

Actions to the Southern District of Florida, where events central to the litigation occurred here,

some of the defendants are located here, and the first-filed action was located here. See, e.g., In re

January 2021 Short Squeeze Trading Litig., MDL 2989, 2021 WL 1258399, at *1 (transferring

related securities cases under § 1407 to the Southern District of Florida because the cases involved

common questions of fact and “some of the events central to this litigation” occurred there); In re

Optimal Strategic U.S. Equity Fund Sec. Litig., 648 F. Supp. 2d at 1388–89 (centralizing related

securities class actions in the Southern District of Florida where the cases involved common




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          https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
headquarters-from-chicago-to-miami/ (accessed February 10, 2023).


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questions of fact, a common defendant was headquartered in Florida, and the first-filed class action

was pending).

          Consolidation of the claims in the Related Actions in the Southern District of Florida will

achieve efficient use of judicial resources, prevent duplicative discovery, and prevent fraudulent

claims.

                                           CONCLUSION

          Centralization of the Related Actions will promote the goals of 28 U.S.C. § 1407 by

conserving judicial resources, , reducing litigation costs, preventing potentially inconsistent

pretrial rulings, eliminating duplicative discovery, and permitting the cases to proceed more

efficiently.

          Therefore, for the foregoing reasons, Plaintiffs respectfully request that the MDL Panel

transfer and consolidate or coordinate all of the Related Actions to the United States District Court

for the Southern District of Florida for pretrial purposes.

Dated: February 10, 2023                                Respectfully submitted,

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